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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

      BETH LAVALLEE,

                           Plaintiff,

      v.                                               CASE NO. 1:15-cv-01922-DML-WTL

      MED-1 SOLUTIONS, LLC,

                           Defendant.


                MOTION FOR AWARD OF ATTORNEY FEES AND COSTS

            Plaintiff, by counsel, hereby moves for an award of attorney fees and costs and

    respectfully requests that the Court set a briefing schedule on Plaintiff’s motion. In

    support, Plaintiff states:

            1. On September 29, 2017, the Court granted summary judgment in favor of

                Plaintiff and against Defendant. Dkt. 38.

            2. The Court found that Plaintiff was entitled to an award of reasonable

                attorneys’ fees and costs, and directed Plaintiff to file her motion for fees and

                costs as provided by Fed. R. Civ. P. 54(d).

            3. Plaintiff hereby requests an award of reasonable attorney fees and costs.

            4. Plaintiff estimates the amount of fees she will seek in this matter will be

                approximately Thirty-One Thousand Five Hundred Dollars ($31,500).

            5. Plaintiff needs additional time to compile affidavits and prepare her brief in

                support of her request for attorney fees.

            6. Plaintiff proposes the following briefing schedule pursuant to Local Rule 7-

                1(c)(2):
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                    •     Plaintiff’s brief due October 30, 2017;

                    •     Defendant’s brief in response due November 13, 2017;

                    •     Plaintiff’s reply brief due November 20, 2017.

            Plaintiff respectfully requests an award of reasonable attorney fees in this matter.

    Plaintiff further requests that the Court set a briefing schedule for the parties to brief

    Plaintiff’s motion.


                                                            Respectfully submitted,

                                                             s/ Robert E. Duff
                                                            Robert E. Duff, Atty No. 16392-06
                                                            Indiana Consumer Law Group/
                                                            The Law Office of Robert E. Duff
                                                            P.O. Box 7251
                                                            Fishers, IN 46037
                                                            800-817-0461
                                                            robert@robertdufflaw.com


                                         Certificate of Service

            The undersigned counsel for Plaintiff hereby certifies that on September 30, 2017
    I electronically filed the foregoing document with the Clerk of Court using the Court’s
    CM/ECF system, which sent notification of the filing to all counsel of record.


                                                             s/ Robert E. Duff
                                                            Robert E. Duff, Atty No. 16392-06
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